
Per Curiam.
{¶ 1} Because the Board of Tax Appeals ("BTA") did not fully consider the appraisal evidence presented by appellant, Icon Owner Pool 3 Midwest/Southeast, L.L.C., we vacate the decision of the BTA and remand the cause for further proceedings on the authority of Terraza 8, L.L.C. v. Franklin Cty. Bd. of Revision , 150 Ohio St.3d 527, 2017-Ohio-4415, 83 N.E.3d 916, and Spirit Master Funding IX, L.L.C. v. Cuyahoga Cty. Bd. of Revision , 155 Ohio St.3d 254, 2018-Ohio-4302, 120 N.E.3d 815. On remand, the parties shall not be permitted to present new evidence. See Bronx Park S. III Lancaster, L.L.C. v. Fairfield Cty. Bd. of Revision , 153 Ohio St.3d 550, 2018-Ohio-1589, 108 N.E.3d 1079, ¶ 13.
Decision vacated and cause remanded.
O'Connor, C.J., and O'Donnell, Kennedy, French, Fischer, DeWine, and DeGenaro, JJ., concur.
